                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
vs.                                               )    CASE NO. 3:07-00084
                                                  )    JUDGE KEVIN H. SHARP
PRESTON DEJUAN DOUGLAS                            )


                                             ORDER

       Pending before the Court is a Motion to Continue the January 31 Revocation Hearing

(Docket No. 80) to which the Government does not oppose. The motion relates to the hearing set

for April 15, 2013, and not the date stated in the title of the motion.

       The motion is GRANTED and the revocation hearing scheduled for April 15, 2013, is hereby

rescheduled for Monday, July 15, 2013, at 10:00 a.m.

       IT IS SO ORDERED.



                                               KEVIN H. SHARP
                                               UNITED STATES DISTRICT JUDGE




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